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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN

UNITED STATES OF AMERICA,

       Plaintiff,                              Case No. 22-30401
                                               Magistrate Judge: Curtis Ivy, Jr.
vs

RAMIRO BARAJAS,

      Defendant.
______________________________________________________________________________

                     NOTICE OF REQUEST FOR DISCOVERY
                          AND BRIEF IN SUPPORT

       In compliance with the “Standing Order for Discovery and Inspection” entered

in this case, Ramiro Barajas, by counsel, hereby provides the government with the

following requests and notices:

       1.     It is requested that the government provide copies of:

       A.     Any information within the meaning of paragraph 1 (a) of the Standing

Order and/or Federal Rule of Criminal Procedure 16 (a) (1), including specifically:

       I.     Any statement of defendant, as required by Rule 16 (a) (1) (A);

       ii.    Defendant’s prior criminal record, as required by Rule 16 (a) (1) (B);

       iii.   Any documents and tangible objects material to the preparation of the

defense, intended to be used in the government’s case-in-chief, or obtained from or

which belong to defendant, as required by Rule 16 (a) (1) (c);

       iv.    Any reports of examinations and tests, as required by Rule 16 (a) (1) (D);

and
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        v.    A written summary of the testimony of any expert witness, as required by

Rule 16 (a) (1) (E).

        B.    Any exculpatory evidence or impeachment evidence within the meaning

of Standing Order paragraph 1 (b) and/or Brady v. Maryland, 373 U.S. 83 (1963) and

United States v. Agurs, 247 U.S. 97 (1976).

        C.    Any document, which will be used to refresh the memory of a witness,

within the meaning of Standing Order paragraph 8, and/or Federal Rule of Evidence

612.

        D.    Any statement by persons who have possible knowledge or information

relative to this case, which is not protected from disclosure by 18 USC Section 3500(a).

        E.    Any statements of witnesses within the meaning of 18 USC Section 35(e).

Defendant acknowledges that such statements are purportedly protected by statute

from disclosure at this point in the proceedings. Nevertheless, he requests immediate

disclosure to protect his constitutional rights, including but not limited to, the right to

effective assistance of counsel and effective cross-examination. Failure to do so will,

in all likelihood, necessitate delays during trial to prepare for cross-examination.

        2.    Defendant requests that the prosecution provide an opportunity to review

the documents or records relating to the chain of possession of any exhibit, which the

prosecution intends to introduce in evidence at trial, as required by paragraph 6 of the

Standing Order.

        3.    Notice is given, pursuant to paragraph 5 (b) of the Standing Order, that

the foundation of any and all exhibits may be contested.

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      4.     Notice is given, pursuant to paragraph 6 of the Standing Order, that the

chain of possession of any and all exhibits may be contested.

      5.     Notice is given, pursuant to paragraph 7 of the Standing Order, that any

scientific analysis or summary testimony by experts will be contested unless there has

been a proper basis for the testimony under Federal Rules of Evidence 702, 703, 705

and 1006.

      6.     Notice is requested of the nature of any evidence of other crimes, wrongs

or acts of defendant that the government will seek to admit pursuant to Federal Rule

of Evidence 404 (b).

      7.     Notice is requested, pursuant to Federal Rule of Criminal Procedure 12

(d) (2), of the government’s intent to use in its case-in-chief any evidence which

defendant is entitled to discover under Federal Rule of Criminal Procedure 16.

      8.     All requests for information, materials, or evidence contained herein are

continuing, and the prosecution is expected to immediately provide any additional

information, materials, or evidence as required by paragraph 3 of the Standing Order

and/or Federal Rule of Criminal Procedure 16 (c).

      9.     Notices contained herein remain in effect until expressly withdrawn.

                                              Respectfully submitted,

                                              /s/Jerome Sabbota
                                              RIBITWER & SABBOTA, LLP
                                              26862 Woodward Avenue, Unit 200
                                              Royal Oak, Michigan 48067
                                              (248) 543-8000
                                              contact@ribitwersabbota.com
                                              P25892

DATED: September 22, 2022

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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN

UNITED STATES OF AMERICA,

      Plaintiff,                             Case No. 22-30401
                                             Magistrate Judge: Curtis Ivy, Jr.
vs

RAMIRO BARAJAS,

      Defendant.
______________________________________________________________________________

               BRIEF IN SUPPORT OF REQUESTS AND NOTICES

      Defendant relies on the particular provisions of the Federal Rules of Criminal

Procedure, the Federal Rules of Evidence, the Standing Order for Discovery and

Inspection cited in the Requests and Notices, and the discretion of the Court in

interpreting and applying the rules and Order.

                                             Respectfully submitted,

                                             /s/Jerome Sabbota
                                             RIBITWER & SABBOTA, LLP
                                             26862 Woodward Avenue, Unit 200
                                             Royal Oak, Michigan 48067
                                             (248) 543-8000
                                             contact@ribitwersabbota.com
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DATED: September 22, 2022
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                            CERTIFICATE OF SERVICE

      I hereby certify that on September 22, 2022, I electronically filed the foregoing

documents with the Clerk of the Court using the ECF System, which will send

notification of such filing to the Assistant United States Attorney.

                                        /s/ Jerome Sabbota
                                        Jerome Sabbota
                                        contact@ribitwersabbota.com
